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                       IN THE UNITED STATES DISTRICTCOURT
                      FOR THE EASTERN DISTRICTOF VIRGINIA

                                      Alexandria Division


UNITED STATES OF AMERICA                        )

       V.                                       ) Case No. l:20-mj-
                                                )
CARLISS TOWANDA MIMS KIZER.                     )
                                                )
              Defendant.                        )

               AFFIDAVITIN SUPPORT OF A CRIMINAL INFORMATION

       1, Maureen O'Callahan, being duly sworn, state:

                                       INTRODUCTION


       1.     I am a Federal Law Hnforcemeni Officer with the National Park Sendee (NPS) at

Manassas National Battlcricid Park. I was appointed as a federal law enforcement officer with
NPS in 2015. My responsibilities include investigating traffic and resource violations, and
providing physical security and protection for all employees and visitors.
       2.      Tliis affidavit is submitted in support of a criminal information charging that on or

about August 22, 2020, at Manassas National Battlefield Park, in the special maritime and
territorial jurisdiction of the United States, within the Eastern Distiict of Virginia, CARLISS
TOWANDA MIMS KIZER did commit vandalism by damaging property, in violation of 36

C.F.R.§ 2.31(a)(3).

       3.      The facts and information contained in this affidavit are based upon my prvsonal

knowledge of the investigation, as well as the observations of other law enforcement c Ticers
involved in this investigation. All observations that were not personally made by me were lelated
to me by the person(s) who made such observations or are based on my review of records and
documents.

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